     18-08245-rdd          Doc 19   Filed 09/04/18       Entered 09/04/18 17:38:42               Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                   Chapter 11

    THE GREAT ATLANTIC & PACIFIC TEA                         Case No. 15-23007-rdd
    COMPANY, INC., et al.,1
                                                             Jointly Administered
                      Debtors.
    THE GREAT ATLANTIC & PACIFIC TEA                         Adv. Pro. No. 18-8245-rdd
    COMPANY, INC., et al.,
                      Plaintiff,

             - against -

    PEPSICO, INC.; BOTTLING GROUP, LLC
    (d/b/a Pepsi Beverages Company and f/d/b/a
    The Pepsi Bottling Group); FRITO-LAY
    NORTH AMERICA, INC.; QUAKER SALES
    AND DISTRIBUTION, INC.; MULLER
    QUAKER DAIRY, LLC; STACY’S PITA
    CHIP COMPANY, INC.; PEPSI BOTTLING
    GROUP, NJ; and PEPSI USA,
                         Defendants.

             NOTICE OF ADJOURNMENT OF INITIAL PRETRIAL CONFERENCE

             PLEASE TAKE NOTICE that on consent of the parties to this adversary proceeding, the

initial pretrial conference scheduled for September 13, 2018 at 10:00 a.m. has been adjourned to

October 11, 2018 at 10:00 a.m.




1
 The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better, LLC;
A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.; Delaware
County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale Holdings, Inc.;
Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC; Shopwell, Inc.; Super Fresh
Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum, Inc.
 18-08245-rdd   Doc 19      Filed 09/04/18       Entered 09/04/18 17:38:42             Pg 2 of 2




Dated: September 4, 2018                            /s/ Jeffrey Chubak
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                                                    - and -

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